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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               (ALEXANDRIA DIVISION)

    GLOBAL POLICY PARTNERS, LLC                            )
    et al.,                                                )
                                                           )
                                                           )
                                   Plaintiffs,             )       Case No. 1:09CV859
                                                           )       TSE-TRJ
    v.                                                     )
                                                           )
    BRENT YESSIN                                           )
    et al.,                                                )
                                                           )
                                                           )
                                   Defendants.             )

         PLAINTIFFS’ OBJECTIONS TO THE MAGISTRATE JUDGE’S DECEMBER
         23, 2009 ORDER DENYING PLAINTIFFS’ SECOND MOTION TO COMPEL

            Pursuant to Fed. R. Civ. P. 72(a), Plaintiffs Global Policy Partners, LLC (“GPP”)

    and Katherine Friess (“Ms. Friess”) (collectively, “Plaintiffs”), by and through their

    undersigned counsel of record, respectfully submit their Objections to the Magistrate

    Judge’s December 23, 2009 Order denying Plaintiffs’ Second Motion to Compel

    Inspection of Defendant Yessin’s Computer Hard Drive.

    I.      INTRODUCTION

            Plaintiffs’ claims against Defendant are based on the Computer Fraud and Abuse

    Act, 18 U.S.C. § 1030 (the “CFAA”) (Counts I-II) and the Stored Wire and Electronic

    Communications and Transactional Records Act, 18 U.S.C. § 2701 et seq. (Counts VI-

    VII) (the “Stored Communications Act” or the “SCA”). As demonstrated below, since

    the inception of this matter, Plaintiffs have diligently sought an imaged-copy of

    Defendant’s hard-drive in order to establish his liability and the extent of Plaintiffs’

    damages under the SCA and the CFAA. In order to do so, Plaintiffs have submitted
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    numerous briefs and Declarations from their forensic computer expert and cited

    numerous cases from this jurisdiction and others which hold that in cases involving the

    same statutes at issue here, Plaintiffs are entitled to forensically analyze Defendant’s

    hard-drive.

           In response, Defendant has consistently argued that he should not have to produce

    his hard-drive because he is a practicing attorney and his attorney-client communications

    with others would be divulged. Defendant makes this claim even though he admits that

    he accessed at least four of Plaintiffs’ email accounts, one such account for almost two

    years, and admittedly accessed and copied privileged emails relating to Ms. Friess’

    divorce and settlement strategy and shared these privileged communications with another

    attorney who was providing legal advice regarding his contested divorce with Ms. Friess.

    Defendant also admits that he accessed Plaintiffs’ email accounts on many other

    occasions, but despite claiming to have a photographic memory, he allegedly cannot

    remember how many times he accessed those accounts, or what emails he viewed. In

    discovery, Defendant has only produced two email strings, which not coincidentally are

    the same emails referenced in the Amended Complaint. Thus, even though he unlawfully

    accessed Ms. Friess’ attorney-client communications is using them against her in an on-

    going, contested divorce proceeding, Defendant contends that, unlike virtually every

    other case of this nature, he is not required to produce an imaged-copy of his computer so

    that Plaintiffs can establish how many times he accessed their accounts and what he did

    with this information.

           What is even more galling is that at his deposition, and contrary to what he and

    his counsel have been representing to The Magistrate Judge, Defendant admitted under




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    oath that he has been “removed long enough from the daily practice of law” and refused

    to identify the name of a single client with whom he had an attorney-client privilege or

    relationship. When Plaintiffs’ counsel pressed Defendant to provide this information to

    determine whether there was a privilege that would justify withholding the computer, his

    counsel instructed him not to answer the question. Defendant cannot continue to have it

    both ways – he cannot invoke the privilege to not produce his hard drive and then refuse

    to produce the most basic information in order to establish whether a privilege exists in

    the first place. Defendant’s refusal to produce this information indicates that the premise

    for not producing an imaged-copy of his hard-drive, which was relied upon by the

    Magistrate Judge, simply was not true.

           Defendant also has argued that Plaintiffs are not entitled to a complete forensic

    exam because Defendant’s December 4, 2009 production allows Plaintiffs to “see

    whether any file that resided in the GPP email account assigned to Ms. Friess now resides

    on [Defendant’s] computer.” Defendant’s Rebuttal at 2. Similarly, Defendant argues

    that Plaintiffs have not demonstrated that Defendant “copied anything more then what

    was already produced” Id. at 3. The glaring hole in these arguments is that they rely on

    the faulty premise that Defendant’s liability – and Plaintiffs’ discovery rights and

    damages – are limited to what Defendant copied from Plaintiffs’ email accounts onto his

    computer. Liability under both the CFAA and SCA is premised on Defendant’s unlawful

    access to Plaintiffs’ email accounts, not on whether he copied emails onto his hard drive.

    Copying emails proves Defendant accessed Plaintiffs’ email accounts on a number of

    occasions, but Defendant admittedly accessed Plaintiffs’ accounts on numerous other

    occasions without copying an email communication to his hard drive. Defendant’s




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    attempt to limit this case to only emails or documents he copied from Plaintiffs’ email

    accounts (that he is willing to identify) defies the governing law and common sense.

           In disregard of Plaintiffs’ expert Declarations and the governing law, the

    Magistrate Judge denied Plaintiffs’ repeated requests for an imaged-copy of Defendant’s

    hard-drive. Instead, based upon Defendant’s false representations about his attorney-

    client communications, the Magistrate Judge accepted Defendant’s approach and only

    permitted Plaintiffs to have the results of “key-word” searches and the unallocated space

    on Defendant’s hard-drive (which is a tiny fraction of the hard-drive). As Plaintiffs’

    expert Declarations make clear, this is entirely inadequate. First, under this approach,

    Plaintiffs were required to devise perfect key-work searches to obtain all responsive

    information. In order to do so, Plaintiffs would have to know what Defendant accessed

    and what he did with this information. Only Defendant possesses this information and he

    refuses to produce it. More importantly, Defendant was then permitted to vet the results

    of these searches for “responsiveness”, so he alone could decide what Plaintiffs were

    entitled to see. Second, as Plaintiffs’ expert Declarations make clear, the responses to the

    key word searches and the unallocated space of Defendant’s hard-drive will not tell

    Plaintiffs how many times Defendant accessed their email accounts and what he did with

    this information, which is critical to Defendant’s liability and Plaintiffs’ damages.

           Thus, although Defendant has admitted repeatedly accessing Plaintiffs’ email

    accounts and sharing this information with third parties in order to harm Plaintiffs, the

    Magistrate Judge has permitted Defendant to provide Plaintiffs with the evidence of his

    unlawful conduct that he feels like producing, instead, as the governing law dictates,

    allowing Plaintiffs to discover this information through a forensic examination. This is




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    akin to allowing the fox to guard the henhouse and Defendant has taken full advantage of

    this approach – although he has admitted to accessing some of Plaintiffs’ accounts for

    almost two years, he has produced only two email strings which happen to be the emails

    referenced in Plaintiffs’ Amended Complaint. In other words, Defendant has only

    produced that which he knew Plaintiffs were already aware of and nothing more.

           As Plaintiffs have repeatedly stated in the course of this litigation, they have no

    interest in any truly privileged communications existing on Defendant’s hard drive – their

    only interests are determining how many times Defendant unlawfully accessed their

    email accounts and what Defendant did with this information. The only way to obtain

    this information is to conduct a complete forensic examination of Defendant’s hard drive,

    not the truncated assortment of unallocated space and key word results that Plaintiffs

    have been permitted to review.

    II.    PROCEDURAL HISTORY

           From the very beginning of this litigation, Plaintiffs have been diligently seeking

    the production and forensic examination of Defendant’s hard drive to determine how

    many times Defendant accessed Plaintiffs’ email accounts and what he did with that

    information.

           A. Motion For Expedited Discovery

           In August 2009, Plaintiffs initially prepared a Motion to Expedite Discovery to

    seek production of an imaged-copy of Defendant’s computer even before discovery was

    permitted in this case. Before filing that motion, Plaintiffs’ counsel met and conferred

    with Defendant’s counsel, who agreed to immediately obtain an imaged-copy of

    Defendant’s computer. Based on that representation, Plaintiffs agreed to hold-off filing




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    the Motion, however, Defendant refused to produce the imaged copy of the computer to

    Plaintiffs for a forensic analysis.

            B. The Initial Pre-Trial Conference And Plaintiffs’ First Motion To Compel

            On October 7, 2009, the parties and the Court conferred pursuant to Fed. R. Civ.

    P.16(b). At the Conference, counsel for the Plaintiffs stated that among the discovery

    issues between the parties was Defendant’s objection to producing his computer or an

    imaged copy of the computer’s hard drive for forensic analysis by Plaintiffs’ expert. The

    Magistrate Judge instructed Plaintiffs to file their Motion to Compel by Monday, October

    12, with argument to be heard on October 16.

            Pursuant to the Magistrate Judge’s instructions, Plaintiffs filed their first Motion

    to Compel a forensic analysis of Defendant’s computer hard drive on October 12, 2009.

    Plaintiffs consistently stressed that a forensic examination of Defendant’s computer was

    necessary to determine both the extent of Defendant’s liability and Plaintiffs’ damages.

    In this Motion, Plaintiffs explained:

            A forensic analysis of Defendant’s computer(s) will enable Plaintiffs to
            determine when, and how often, Defendant unlawfully accessed Plaintiffs’
            computer and email system, as well as which documents and emails
            Defendant reviewed, saved and shared with others. This will enable
            Plaintiffs to determine the full extent of Defendant’s liability, as well as
            the full extent of Plaintiffs’ damages.

    (Ex. A at 1).

            In the first Motion to Compel, Plaintiffs also cited cases similar to this one in

    which courts granted the forensic examination of a computer hard drive to preserve

    relevant information. In his Opposition (Ex. B), Defendant disingenuously argued that

    Plaintiffs were seeking unlimited access to communications between himself and his

    business clients and confidential communications between himself and his counsel



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    regarding this case, his pending divorce, and the Florida declaratory judgment action

    regarding management and control of GPP. (Id. at 8). Plaintiffs explained in their Reply

    (Ex. C), that contrary to Defendant’s Opposition, Plaintiffs did not seek unfettered access

    to Defendant’s personal, business, or privileged files on his computer, and that “their only

    interest is which of Plaintiffs’ emails and documents Defendant accessed and reviewed,

    how he used them, and who he shared them with and for what purpose.” (Id. at 2).

           At the October 16 hearing, the Magistrate Judge instructed the parties to further

    meet and confer to ascertain whether the Defendant’s production of certain files from his

    hard drive, as opposed to the actual computer or imaged hard drive copy, would suffice.

           Accordingly, on October 19, the parties and their respective experts engaged in a

    joint conference call. At that point, Defendant’s expert, Mr. Ben Pim, had not yet fully

    examined the hard drive of the Defendant, and could not answer many of the questions

    posed by Plaintiffs’ computer forensic expert, Mr. Jason Sprowl.               During that

    conversation, Defendant’s expert also noted that the imaged copy of the hard drive,

    which Defendant had promised to have made over a month before, was copied

    incorrectly. Defendant’s expert asked Plaintiffs’ expert to e-mail him a list of the items

    that he would need in order to conduct a proper forensic analysis. Later that day,

    Plaintiffs’ expert sent him such a list. On Wednesday, October 21, 2009, counsel for the

    Defendant responded by letter stating that the items enumerated by Plaintiffs’ expert

    constituted essentially the entire hard drive.     Counsel for the Defendant proposed,

    instead, that his expert conduct a “key word” search.

           On October 22, and pursuant to the Magistrate Judge’s instructions, the parties

    submitted supplemental briefing. Defendants argued in their supplemental brief that a




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    key word search of the files on the hard drive should be conducted. (Ex. D). Plaintiffs’

    supplemental brief included detailed Declarations from their forensic expert, Mr. Sprowl,

    explaining why data recovery efforts such as a key word search cannot substitute for a

    comprehensive forensic examination of Defendant’s computer. (Ex. E, at 4-5). Plaintiffs

    also thoroughly addressed Defendants’ privacy concerns, citing several cases in which

    the Courts permitted a plaintiff to conduct a full forensic examination of a defendant’s

    computer after ensuring that the defendant first had the opportunity to review the

    materials to separate non-responsive and privileged documents. Plaintiffs proposed, in

    keeping with these cited cases, that “their expert agrees to a confidentiality agreement or

    Protective Order, performs the searches necessary in his expert opinion to reveal the

    relevant files, and then hands those files over to counsel for Defendant. Counsel then

    reviews the files for privilege, creates a privilege log, and produces the privilege log,

    along with all non-privileged, responsive documents.” (Id. at 9).

           The Court heard the final argument on Plaintiffs’ first Motion to Compel on

    Friday, October 23. Over, Plaintiffs’ objections, the Magistrate Judge decided to permit

    Defendant’s key word search protocol to be implemented instead of permitting a forensic

    examination. The Magistrate Judge specifically recognized that the key word protocol

    could address, at best, the content of the emails Defendant accessed rather than the

    separate questions of when and how many times Defendant accessed Plaintiffs’ email

    accounts:

           THE COURT: Well, what does your expert say he's going to do other than
           a key word search with respect to any area of the disk that's not occupied
           by a file? Is he going to look at every bit and byte individually as it
           streams across his screen? And what's he going to be looking for if not key
           words?




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           MS. HARRIS: I believe that's part of it. But I believe he can also look at
           when the computer connected to a certain Web site.

           THE COURT: How does that relate to what we're talking about here?

           MS. HARRIS: Because it will show when he was on her e-mail account.
           And when he was on any GPP e-mail account. In addition, the allocated
           clusters, as my expert—

           THE COURT: That's a separate issue. You know, that's where we
           started, I guess. I'm going to have to come back to that. But right now
           we're talking about content and not instances of access.

    (Ex. F, at 16) (emphasis added).

           As for its decision to utilize a key word search only, the Court also noted that:

           THE COURT: I wouldn't be doing it this way if it weren't a hard drive
           on which a substantial amount of material is, covered by the
           attorney/client privilege is stored. But that's a fact that I have got to deal
           with. There is no indication that that situation was brought into play as a
           shield of some sort, it's just the nature of this hard disk.

    (Id. at 18, emphasis added). The Magistrate Judge made it abundantly clear that he was

    not permitting a forensic exam because of Defendant’s representations that the hard drive

    contained attorney-client communications that had to be protected. As demonstrated

    below, these representations were not true. The Magistrate Judge also erred by focusing

    on the content of the material Defendant accessed instead of when and how many times

    Defendant accessed Plaintiffs’ email accounts and what he did with this information.

    Finally, the Magistrate Judge made clear that his decision “is without prejudice to

    plaintiffs' ability to come back and ask for more if you have reason to believe you haven't

    gotten what you're entitled to.” Id. Because the Magistrate Judge denied Plaintiffs’

    Motion without prejudice, Plaintiffs could not file Objections at that time.

           C. Implementation of Protocol Order




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            While disagreeing with the Magistrate Judge’s ruling, Plaintiffs did their best to

     quickly and timely comply with the key word search protocol order that the Court

     adopted. (Ex. G). Although Plaintiffs believed that the key word search would be

     insufficient to determine when and how many times Defendant accessed Plaintiff’s email

     accounts, Plaintiffs understood they needed to permit the Magistrate Judge’ key word

     search protocol to run its course prior to again moving to compel a complete forensic

     examination of Defendant’s computer.

            The implementation of the Court’s key word protocol order was not without

     problems and delays. Plaintiffs’ counsel worked extensively with Ms. Friess to create

     and narrow the initial list of key words terms and this process took time and many

     communications to finalize the key word list. Plaintiffs made a good faith effort to

     provide a comprehensive search list and submitted it to Defendant’s counsel on

     November 3. Later, in the interest of trying to meet the Court’s original expert deadlines,

     Plaintiffs eliminated some search terms to expedite the process.

            In contrast to Plaintiffs’ actions, Defendants delayed the process with mistakes

     and false starts. On November 16, Plaintiffs’ counsel sent Defendant’s counsel an email

     recounting the numerous mistakes Defendant had made in the search process, which

     resulted in delays. As Plaintiffs reminded Defendant:

            [D]efendant has caused some undue delay. We sent you the list of key
            terms on Nov. 3 and you agreed to them on Nov. 4. Paragraph 4 of the
            protocol order states: “Within 2 business days of reaching agreement on
            the search terms, Mr. Pim will implement a search of Defendant's hard
            drive using the search terms.” Defendant could not run a search within
            this time period because they had not yet begun the indexing of the hard
            drive, a process that should have been done well in advance of when we
            sent you our key word list. The indexing was not completed until 5 days
            later on Nov. 9, three business days after we had reached agreement on the
            key word terms. We then lost an additional day on November 10, when



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            defendant mistakenly used default word key lists and numbers such as “2”
            and “3”, which slowed the search to a crawl and necessitated beginning
            the search all over again. Then on Nov. 11, a second search had to be run
            because Mr. Sprowl noticed that approximately 46 of our key words/terms
            were missing and had not been entered for processing in the forensic
            software. These delays have generated no less than two and half days of
            lost time.

     (Ex. H).

            Despite these delays, Defendant completed the key word search and provided the

     Plaintiffs the results on December 4. Defendant also produced an external hard drive

     containing the hard-drive’s unallocated space, which Defendant provided because it

     could not separate privileged information from information containing key word hits in

     the unallocated space portion of the hard drive.

            D. Plaintiffs’ Second Motion To Compel

            As anticipated, the key word search and the extraction of the unallocated space

     (which was only a very small portion of the hard-drive) did not provide Plaintiffs with the

     information necessary to determine when and how many times Defendant accessed their

     email accounts, which are critical questions for proving both the extent of liability and

     actual and statutory damages under the CFAA and SCA. As a result, on December 4,

     Plaintiffs promptly filed a Second Motion to Compel a forensic examination. (Ex. I).

     Defendant filed an Opposition Brief (Ex. J) and Plaintiffs filed a Reply (Ex. K). The

     Magistrate Judge heard argument on the Second Motion to Compel on December 11.

     (Ex. L). The Magistrate Judge then permitted Plaintiffs to file another expert Declaration

     on December 14 and canceled the December 14 due date for Plaintiffs’ expert report. (Id.

     at 29).1 Defendant then filed two Declarations from their experts and a rebuttal brief on



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            The Magistrate Judge has not yet re-set the expert deadlines.


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     December 16. (Ex. M). Because Defendant went beyond the Court’s request for

     additional Declarations and also submitted an extensive brief, the Magistrate Judge gave

     Plaintiffs leave to file a final rebuttal brief by December 21. (Ex. N).

            During the briefing of the Second Motion to Compel, Plaintiffs’ forensic expert

     submitted multiple Declarations to the Court, repeatedly explaining that the key word

     search results and unallocated space alone was wholly insufficient to determine when and

     how many times Defendant accessed Plaintiffs’ email accounts and what he did with this

     information. On December 23, the Magistrate Judge issued an Order denying Plaintiffs’

     Second Motion to Compel because it found that “the information plaintiff [sic] seeks to

     discover could be obtained from the discovery already provided by defendants [sic].”

     (Ex. O).

            Plaintiffs respectfully object to this Ruling.

     III.   ARGUMENT

            Under Fed. R. Civ. P. 72(a), a party may serve objections to a magistrate judge’s

     non-dispositive order within 14 after being served with a copy. The district court must

     “modify or set aside any part of the order that is clearly erroneous or is contrary to law.”

            A. The Governing Statutes Prohibit Unauthorized Access And The Stored
            Communications Act Provides For Statutory Damages For Each Violation

            The Magistrate Judge’s December 23 order is clearly erroneous and contrary to

     law because it prevents Plaintiffs from discovering when and how many times Defendant

     accessed Plaintiffs’ email accounts and what he did with this information, which is

     information vital to determine the extent of Defendant’s liability and Plaintiffs’ damages.

     As Plaintiffs and their experts have repeatedly informed the Magistrate Judge, the

     production of the key word search results and the unallocated space does not provide the



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     necessary forensic information to determine when and how often Defendant accessed

     Plaintiffs’ email accounts and what he did with this information.

            An examination of the statutes at issue demonstrates why this information is vital

     to Plaintiffs’ claims. As asserted in Count I, the CFAA prohibits the intentional

     accessing of a computer “without authorization or exceeding authorized access” to obtain

     information from a “protected computer.” 18 U.S.C. § 1030 (a)(2)(C) (emphasis added).

     Pursuant to Count II, Defendant is liable under the CFAA as one who: “knowingly and

     with intent to defraud, accesses a protected computer without authorization, or exceeds

     authorized access, and by means of such conduct furthers the intended fraud and obtains

     anything of value. . . .” 18 U.S.C. § 1030(a)(4) (emphasis added).

            Under Counts VI and VII, the SCA establishes liability against one who

     “intentionally accesses without authorization a facility through which an electronic

     communication service is provided” and “intentionally exceeds an authorization to access

     that facility; and thereby obtains, alters, or prevents authorized access to a wire or

     electronic communication while it is in electronic storage in such system.” 18 USC §

     2701(a)(1)&(2) (emphasis added). Thus, to establish liability under the CFAA and the

     SCA, Plaintiffs must be able to discover the occasions (other than the times of which they

     are already aware) on which Defendant accessed their e-mail accounts, as well as what he

     did with this information.

            Defendant’s use of the information (e.g., in furtherance of an intended fraud as

     prohibited by the CFAA) is also relevant to Plaintiffs’ damages under the CFAA and

     SCA. In addition, the SCA provides for $1,000 per-violation in statutory damages even

     where actual damages may be nominal. 18 U.S.C. § 2707(c); see also In re the




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     Application of United States, 441 F. Supp. 2d 816, 835 (S.D. Tex. 2006); Voicenet

     Communs., Inc. v. Corbett, 2006 U.S. Dist. LEXIS 61916 (E.D. Pa. Aug. 30, 2006); In re

     Hawaiian Airlines, Inc., 355 B.R. 225 (D.Hawai'i 2006). Thus, the number of occasions

     Defendant accessed Plaintiffs’ e-mail accounts without their authorization, and what he

     did with this information, is directly relevant to Plaintiffs’ claims and damages, and

     Plaintiffs are entitled to discovery of these facts. As Plaintiffs’ expert makes clear, this

     information cannot be obtained without a forensic analysis of Defendant’s hard drive. A

     forensic analysis is also relevant to establish the grounds for the punitive damages

     Plaintiffs seek in this case because it will demonstrate Defendant’s knowing, repeated

     violations of the SCA and CFAA.

            B. Plaintiffs’ Expert Cannot Determine When And How Many Times
            Defendant Accessed Plaintiffs’ Email Accounts Without Conducting A
            Complete Forensic Analysis Of Defendant’s Imaged Hard Drive

            Plaintiffs’ forensic expert, Jason Sprowl submitted four Declarations over the

     course of these two motions to compel explaining why a key word search cannot

     substitute for a complete forensic examination to determine when and how many times

     Defendant actually accessed Plaintiffs’ email accounts and what he did with this

     information.   Likewise, after Defendant extracted the unallocated space onto an external

     hard drive and produced it on December 4 along with the key word search results, Mr.

     Sprowl further explained that unallocated space extracted from Defendants hard-drive

     cannot simply be used in combination with the key words search results to determine

     when and how many times Defendant accessed Plaintiffs’ email accounts. Defendant

     submitted two Declarations from his expert Benjamin Pim. For ease of reference,




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     Plaintiffs attach these four Plaintiff Declarations as Ex. P and the two Defendant

     declarations as Ex. Q.

            During the briefing on the Second Motion to Compel, the fundamental dispute

     between Mr. Sprowl and Mr. Pim was whether the unallocated space and key word

     production was sufficient to conduct a forensic analysis which would enable Plaintiffs to

     determine how many times Defendant accessed Plaintiffs’ email accounts. Mr. Sprowl

     stated repeatedly that Defendant’s production of only key word results and the

     unallocated space extracted from Defendant’s hard drive is incomplete and cannot answer

     the fundamental questions Plaintiffs seek to discover as to when and how many times

     Defendant accessed the email accounts and what he did with this information. Mr.

     Sprowl repeatedly explained that the key word results and unallocated space are a good

     start; however, they cannot replace the missing pieces of the whole forensic puzzle such

     as log files, temporary files, or deleted files which were not included in Defendant’s

     production. Email artifacts can reside in several locations outside of unallocated space.

     Mr. Sprowl also explained this problem was especially acute on Defendant’s MAC

     operating system (as opposed to Windows), where meta data can fork into several

     locations outside of unallocated space. The Magistrate Judge’s December 23 Order

     denying Plaintiffs’ Second Motion to Compel prevents Mr. Sprowl’s forensic

     examination. It prevents him from being able to construct things such as time lines for

     Defendant’s access times and prevents him from reconstructing Defendant’s activity by

     dates. The Magistrate Judge’s Order also prevents Mr. Sprowl from obtaining the hard-

     drive’s log files and caches that Plaintiffs need for data related to e-mail activity. The

     chances of finding the log files needed to make these time line constructions and to trace




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     Defendant’s access times are slim to none with the production solely of unallocated space

     and the key word search results. In same, the Magistrate Judge’s Order impedes

     Plaintiffs’ efforts to determine both Defendant’s liability and Plaintiffs’ damages under

     the SCA and CFAA.

            In contrast to Mr. Sprowl’s Declarations, Mr. Pim repeatedly bypasses the

     question of whether Defendant’s production contains adequate meta data to determine

     Defendant’s access times. Instead, he qualifies his statements to state that a forensic

     examination can take place within the parameters of the protocol ordered by the

     Magistrate Judge. In his first Declaration dated December 8, 2009, Mr. Pim states in

     paragraph 10 that “all relevant forensic data requested by the Plaintiffs under the

     protocol was produced in the native files and expert report produced on December 4,

     2009.” Mr. Pim’s statement sets with a straw man argument because Plaintiffs were

     attacking the very efficacy of the Magistrate Judge’s protocol Order to determine how

     many times Defendant accessed Plaintiffs’ email accounts.

            Mr. Pim’s subsequent December 16, 2009 Declaration builds upon this argument.

     Tellingly, he does not state that the unallocated space and the files resulting from the key

     word results will contain all the meta data necessary to determine how many times

     Defendant accessed Plaintiffs’ email accounts or what Defendant did with this

     information. Indeed, Mr. Pim does not dispute that there are many other locations other

     than unallocated space where meta data can reside, which could help identify

     Defendant’s access times. Pim Dec. ¶ 6. Instead, Mr. Pim inaccurately indicates that

     Plaintiffs can discover anything they need from a combination of the unallocated space

     and the key word files. Yet, even Mr. Pim does not go so far as to declare that valuable




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     meta data necessary to determine Defendant’s access Plaintiffs’ email accounts cannot be

     found on other parts of the hard drive. As Mr. Pim should know, the unallocated space

     and the key word files that they produced are not nearly all of the relevant meta data

     contained on Defendant’s hard drive. Still, Mr. Pim attempts to qualify his statements by

     claiming that the information should be available to Plaintiffs as long as Plaintiffs

     provided the correct key words. Pim Dec. ¶ 5. This simplistic approach ignores the large

     amount of data and missing log and temporary files that were not provided by the

     unallocated space or the key word results. Plaintiffs can not be expected to come up with

     perfect searches that will identify each time Defendant accessed Plaintiffs’ email

     accounts – only Defendant possesses this information, but he refuses to produce it.

            In summary, Plaintiffs repetedly provided the Magistrate Judge with expert

     testimony that makes clear that Defendant’s provision of the result of the key word

     searches and the unallocated portion of Defendant’s hard-drive will not tell Plaintiffs

     when and how many times Defendant accessed Plaintiffs’ email accounts and what he did

     with this information. The Magistrate Judge erred by disregarding this expert testimony

     and the governing law. As demonstrated below, Courts almost always permit a plaintiff

     to conduct a complete forensic analysis in cases such as this one, and this case should be

     no exception.

            C. Defendant Has Admitted That He Repeatedly Accessed Plaintiffs’ Email
            Accounts And Refused To Provide The Basis For The Attorney-Client
            Privilege That Is The Alleged Basis For Not Producing His Hard-Drive

            Defendant has admitted that he accessed at least 4 of Plaintiffs’ email accounts,

     and 1 such account for almost two years. See Ex. R at Interrogatory and Supplemental

     Interrogatory Responses Nos. 1-3, 5, 8. Yet, in his Rebuttal, Defendant concedes that he




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     has only produced two email strings, which not coincidentally are the same emails

     referenced in the Amended Complaint. (Ex. M at 3 & n.3). And, even though he claims

     to have a photographic memory (See Ex. S at 87-88), Defendant testifies that he simply

     cannot remember anything else he accessed and reviewed over a two year period of time.

     See Exhibit R at Interrogatory and Supplemental Interrogatory Responses Nos. 1-3, 5, 8.

     Thus, Defendant has only produced those materials that Plaintiffs specifically referred to

     when they brought this action and nothing more. Quite a coincidence.2

            A forensic exam of Defendant’s hard drive is regularly granted in cases involving

     the federal statutes at issue. See, e.g., Physicians Interactive v. Lathian Systems, Inc.,

     Case No. CA-03-1193-A, 2003 U.S. Dist. LEXIS 22868 at *29-30 (E.D. Va. December

     5, 2003) (permitting discovery of the hard drive, noting that “electronic evidence is at

     issue. Electronic evidence can easily be erased and manipulated.”); Koosharem Corp. v.

     SPEC Personnel, LLC, Civ. No. 6:08-583, 2008 U.S. Dist. LEXIS 108396 at *4-6

     (D.S.C. Sept. 29, 2008) (granting motion to compel computers for forensic analysis

     because, inter alia, such analysis could demonstrate accurate data regarding a

     communication that a mere print copy of the emails could not show); Mintel Int'l Group,

     Ltd. v. Neergheen, 2008 U.S. Dist. LEXIS 54119 (N.D. Ill. July 16, 2008) (in a case

     involving claims under 18 U.S.C. § 1030 and the Illinois Trade Secret Act, granting

     preliminary injunction and requiring defendant to produce forensic copies of all personal

     desktop and/or laptop computers); Wolters Kluwer Fin. Servs. V. Scivantage, 525 F.
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             In order to independently determine what he accessed, Plaintiffs issued a
     subpoena to Go-Daddy. (Ex. T). Regrettably, its counsel advised Plaintiffs that Go-
     Daddy does not keep access logs for email accounts. (Ex. U). Thus, since Defendant
     refuses to tell Plaintiffs what he accessed, as Plaintiffs’ expert Declarations make clear,
     the only possible way to determine what Defendant accessed is to forensically analyze
     the imaged-copy of his hard drive. See Ex. P.


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     Supp. 2d 448, 463 (S.D.N.Y 2007) (requiring production of computers and imaged copies

     of hard drives with respect to all computers implicated in claims asserted under, inter

     alia, 18 U.S.C. § 1030); see also Orrell v. Motorcarparts of America, Civ. No.

     3:06CV418-R, 2007 U.S. Dist. LEXIS 89524 at *17 (W.D. N.C., Dec. 5, 2007) (granting

     motion to compel production of computers for forensic examination of hard drives where

     Court held that the party did not meet her burden of “do[ing] all she could under those

     circumstances to preserve evidence.”). The Orrell Court noted that discovery under Rule

     26 “including [discovery of] computer hard drives of the computers which generated

     emails that were later improperly deleted is proper and has been effected by other

     courts.” Id. at *18-19 (citing Antioch Co. v. Scrapbook Borders, Inc., 210 F.R.D. 645,

     652 (D. Minn. 2002); Simon Property Group L.P. v. MySimon, Inc., 194 F.R.D. 639, 640

     (S.D.N.Y. 2000); Playboy Enterprises v. Welles, 60 F. Supp. 2d 1050, 1053 (S.D. Cal.

     1999)).

               In order to not produce his hard drive, Defendant has repeatedly argued that to do

     so would be unfair in this case because it could require disclosure of attorney-client

     communications with his alleged clients. See, e.g., Ex. M at 1, 4-5. The Magistrate Judge

     clearly fashioned the keyword search protocol based on Defendant’s representations that

     the computer hard drive contained attorney-client communications. Indeed, at the

     October 23 hearing, the Magistrate Judge stated that “I wouldn't be doing it this way if it

     weren't a hard drive on which a substantial amount of material is, covered by the

     attorney/client privilege is stored.” Defendant’s attempt to claim attorney-client privilege

     is galling in light of Defendant’s admission that he accessed and reviewed Plaintiffs’

     attorney-client communications and shared them with his attorney who was providing




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     legal advice regarding his divorce. See Ex. S at 9-12, 18 ; Ex. R, Interrogatory and

     Supplemental Interrogatory Responses at 1-3, 5, 8.

             As importantly, at his deposition, Defendant admitted under oath that he has been

     “removed long enough from the daily practice of law” and refused to identify the name of

     a single client with whom he had an attorney-client privilege. See Ex. S at 16, 23-38.

     When pressed to do so in order to determine whether any attorney-client relationships

     actually existed that would support not producing Defendant’s hard drive, Defendant’s

     counsel instructed him not to answer the question. Id.3 Defendant cannot continue to

     have it both ways – he cannot invoke the privilege to not produce his hard drive and then

     refuse to produce the most basic information in order to establish that a privilege exists in

     the first place.

             Finally, Defendant’s alleged concern also could be easily addressed by making

     those allegedly privileged communications subject to the Protective Order entered in this

     case (like Plaintiffs’ attorney-client communications). As Plaintiffs offered before, these

     documents could even be classified as “attorneys’ eyes only.”            As Plaintiffs have

     repeatedly stated, all they want is what Defendant accessed and what he did with that

     information – Plaintiffs have no interest in Defendant’s attorney-client communications

     with his alleged clients about other matters.       Plaintiffs also repeatedly offered the

     Magistrate Judge other solutions to accommodate these alleged attorney-client

     communications. In their Supplemental Brief in Support of the First Motion to Compel,

     Plaintiffs cited several cases which allowed plaintiff’s expert to conduct an independent

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             Defendant also testified that his law license had been suspended, but although he
     claims to have a photographic memory, he claims not to remember when it was
     suspended or for what time period. (Ex. S at 20-23). Obviously, there can be no
     privilege concerns for the period of Defendant’s suspension.


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     forensic analysis, but then permitted defendant to conduct a privilege review prior to

     turning over the responsive information. In Frees, Inc. v. McMillian, No. 05-1979, 2007

     U.S. Dist. LEXIS 4343, 2007 WL 184889, at *3 (W.D. La. Jan. 22, 2007), the plaintiff

     sued a former employee under the CFAA, (but not the SCA), for using the plaintiff's

     computers to remove the plaintiff's proprietary information while still employed by the

     plaintiff. 2007 U.S. Dist. LEXIS 4343, [WL] at *1. In granting the plaintiff's motion to

     compel the imaging and examination of the defendant's work and home computers, the

     court agreed with the plaintiff that the computers would be "among the most likely places

     [the defendant] would have downloaded or stored the data allegedly missing." 2007 U.S.

     Dist. LEXIS 4343, [WL] at *2. Although the defendant claimed he had acquired his

     computers two years after the misappropriation was alleged to have occurred, the Court

     found that even if that were true, the computer could still contain evidence related to the

     "pilfered" data. Id. To address privilege, privacy and confidentiality concerns, the Court

     created a protocol that allowed the defendant to review the imaged copy of the hard-drive

     to ensure that privileged or non-responsive information would not be produced and, after

     the defendant's review, the plaintiff's expert would then be permitted to examine the

     image to identify relevant files for production. Once the expert identified those files, the

     defendant would have a chance to object to the production of any file on grounds such as

     privilege. 2007 U.S. Dist. LEXIS 4343, [WL] at *3.

            In Ameriwood Indus., Inc. v. Liberman, No. 4:06 CV 524-DJS, 2006 U.S. Dist.

     LEXIS 93380, 2006 WL 3825291, at *3, *6 (E.D. Mo. Dec. 27, 2006), amended by 2007

     U.S. Dist. LEXIS 10791, 2006 WL 685623 (E.D. Mo. Feb. 13, 2007), the plaintiff sued

     several former employees and their newly formed company under, inter alia, 18 U.S.C. §




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     1030, for unlawfully using the plaintiff's computers to remove proprietary information

     and trade secrets to "sabotage [the] plaintiff's business relationships and divert [the]

     plaintiff's business to themselves.” Specifically, the plaintiff alleged that the defendants

     had forwarded trade secrets to their personal e-mail accounts while employed by the

     plaintiff. Id. The defendants objected to this request as "overbroad, vague, burdensome,

     and call[ing] for irrelevant information." Id. at *2. The defendants also argued that they

     had already searched for and disclosed responsive information from their hard drives. Id.

     at *3. The court noted, however, that some electronically stored information “might not

     be obtained during a typical search" of the hard drives. Id. (emphasis added.)

            The court explained that, "in cases where a defendant allegedly used the computer

     itself to commit the wrong that is the subject of the lawsuit, certain items on the hard

     drive may be discoverable," and that "allegations that a defendant downloaded trade

     secrets onto a computer provide a sufficient nexus between plaintiff's claims and the need

     to obtain a mirror image of the computer's hard drive." Id. at *4. Because the plaintiff

     alleged that the defendants had used their computers to distribute the plaintiff's

     confidential information, "[h]ow and whether [the] defendants handled those

     documents and what [the] defendants did with the documents is certainly at issue." Id.

     at *5 (emphasis added). Thus, the court allowed "an independent expert to obtain and

     search a mirror image" of the defendants' computers, given the "close relationship"

     between those computers and the plaintiff's claims, as well as the court's doubts that the

     defendants had produced all responsive documents. Id. at *1.

            Nonetheless, recognizing privacy concerns, the court adopted a three-step

     procedure for disclosure: (1) an independent expert, bound by a confidentiality




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     agreement, make a mirror image of and recover all files from the defendants' hard drives;

     (2) the expert then provides all recovered files and information about those files (such as

     information as to when those files were created, accessed, copied, or deleted) to the

     defendants' counsel; and (3) within 20 days of the receipt of the recovered files, the

     defendants produce any non-privileged and responsive documents to the plaintiff. Id. at

     *5-6; see also Cenveo Corp. v. Slater, No. 06-CV-2632, 2007 U.S. Dist. LEXIS 8281,

     2007 WL 442387, at *1-3 (E.D. Pa. Jan. 31, 2007) (citing Ameriwood and adopting

     similar procedure).

            The same compelling grounds that warranted production of the computer in

     Frees, Ameriwood, and the other cases cited above apply to this case; however, the

     Magistrate Judge erred by not ordering the production of Defendant’s computer.

     Plaintiffs proposed virtually the same protocol for disclosure as was implemented in these

     cases, to protect Defendant’s alleged privacy interest. That is, Plaintiffs proposed that

     their expert agree to the Protective Order, perform the forensic analysis on the imaged

     hard drive necessary in his expert opinion to reveal the relevant information, and then

     hand over the relevant information, document and files to counsel for Defendant.

     Defendant’s counsel then could review the files for privilege, create a privilege log, and

     produce the privilege log, along with all non-privileged, responsive documents.

     IV.    CONCLUSION

            For the forgoing reasons, Plaintiffs’ ask the Court to sustain these Objections to

     the Magistrate Judge’s December 23, 2009 Order. Order Defendant to produce the

     imaged-copy of his computer hard-drive to Plaintiffs so they may conduct a complete

     forensic examination, and adjust the expert deadlines.




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     Dated: December 31, 2009                 Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

             I hereby certify that on this 31st day of December, 2009, I electronically filed the
     foregoing brief with the Clerk of Court using the CM/ECF system, which will send a
     notification of such filing (NEF) to the following counsel of record:


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